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                                 EXHIBIT B

                          Declaration of Jay Herriman
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:                                                           PROMESA
                                                                 Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
          as representative of                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                             This filing relates to the
                                                                 Commonwealth, HTA and ERS.
                                    Debtors. 1

    DECLARATION OF JAY HERRIMAN IN SUPPORT OF THREE HUNDRED FIFTY-
    FIRST OMNIBUS OBJECTION (NON-SUBSTANTIVE) OF THE COMMONWEALTH
      OF PUERTO RICO, THE PUERTO RICO HIGHWAYS AND TRANSPORTATION
         AUTHORITY, AND THE EMPLOYEES RETIREMENT SYSTEM OF THE
      GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO TO PARTIAL
                       DUPLICATE LITIGATION CLAIMS

         I, Jay Herriman, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that

the following is true and correct to the best of my knowledge, information and belief:

         1.      I am a Managing Director of Alvarez & Marsal North America, LLC (“A&M”).

The Financial Oversight and Management Board (the “Oversight Board”) retained A&M to assist



1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
    and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
    the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
    3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
    Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
    Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
    Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
    Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
    (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
    Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
    Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
    together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
    (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
    case numbers are listed as Bankruptcy Case numbers due to software limitations)
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with, inter alia, the claims reconciliation process for the Debtors’ (as defined below) cases filed

pursuant to the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”).

Unless otherwise stated in this declaration, I have personal knowledge of the facts set forth herein.

         2.     In my capacity as a Managing Director of A&M, I am one of the persons

responsible for overseeing the claims reconciliation and objection process in the Debtors’ (as

defined below) cases filed pursuant to PROMESA. The Debtors’ ongoing claims reconciliation

process involves the collective effort of a team of A&M employees, as well as Proskauer Rose

LLP and O’Neill & Borges LLC, counsel for the Oversight Board, the legal representative for the

Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways and

Transportation Authority (“HTA”), and the Employees Retirement System of the Government of

the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth and HTA, the

“Debtors”).

         3.     I submit this declaration in support of the Three Hundred Fifty-First Omnibus

Objection (Non-Substantive) of the Commonwealth of Puerto Rico, the Puerto Rico Highways and

Transportation Authority, and the Employees Retirement System of the Government of the

Commonwealth of Puerto Rico to Partial Duplicate Litigation Claims (the “Three Hundred Fifty-

First Omnibus Objection”). 2 I have personally reviewed the Three Hundred Fifty-First Omnibus

Objection and exhibits thereto and am, accordingly, familiar with the information contained

therein.

         4.     In preparation for filing the Three Hundred Fifty-First Omnibus Objection, and

under my direction and/or supervision, each of the claims at issue in the Three Hundred Fifty-First



2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
    Three Hundred Fifty-First Omnibus Objection.


                                                 2
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Omnibus Objection was carefully reviewed and analyzed in good faith using due diligence by the

appropriate personnel. These efforts resulted in the identification of the claims to be partially

disallowed, as identified in Exhibit A to the Three Hundred Fifty-First Omnibus Objection.

        5.      To the best of my knowledge, information, and belief, the claims listed on Exhibit

A to the Three Hundred Fifty-First Omnibus Objection in the column titled “Claims to Be Partially

Disallowed” (each a “Claim to Be Partially Disallowed,” and collectively, the “Claims to Be

Partially Disallowed”) assert the same liabilities, in part, as those asserted in: (1) the master claims

filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v.

Department of Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master

Claims”); (2) the master claims filed on behalf of all plaintiffs in the litigation captioned Delfina

Lopez Rosario et al. v. Puerto Rico Police Department, No. T-01-10-372 (the “Lopez Rosario

Master Claims”); (3) the master claim filed on behalf of all plaintiffs in the litigation captioned

Acevedo Arocho et al. v. Puerto Rico Department of Treasury, No. KAC2005-5022 (the “Acevedo

Arocho Master Claims”); (4) the master claim filed on behalf of all plaintiffs in the litigation

captioned Madeline Acevedo Camacho et al. v. Puerto Rico Department of Family Affairs, No.

2016-05-1340 (the “Acevedo Camacho Master Claim”); (5) the master claim filed on behalf of all

plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico Department of

Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claim”); (6) the master claim

filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico

Department of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez

Master Claim”); (7) the master claim filed on behalf of all plaintiffs in the litigation captioned

Juan Pérez Colón et al. v. Puerto Rico Department of Transportation & Public Works, No.

KAC1990-0487 (the “Pérez Colón Master Claim”); (8) the master claim filed on behalf of all




                                                   3
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plaintiffs in the litigation captioned Frente Unido de Policías Organizados et al. v. Puerto Rico

Police Department, No. KAC2007-4170 (the “FUPO Master Claim”); (9) the master claim filed

on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Colón et al. v. Puerto Rico

Department of Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Colón Master

Claim”); or (10) the master claim filed on behalf of all plaintiffs in the litigation captioned Rosa

Lydia Velez v. Puerto Rico Department of Education, KPE1980-1738, who have agreed to be

represented by José E. Torres Valentín (“Torres Valentín”) of Torres Valentín Estudio Legal, LLC

(the “Velez Master Claim”), (collectively, the “Litigation Master Claims”).

       6.      Each of the Claims to Be Partially Disallowed was filed by one of the individual

plaintiffs in the litigations asserted by the Litigation Master Claims, as identified in the supporting

documentation provided with the Litigation Master Claims. Each of the Claims to Be Partially

Disallowed also purports to assert additional liabilities not associated with the Litigation Master

Claims, such as additional bases for back pay that are not subsumed within the Litigation Master

Claims.

       7.      Because the Claims to Be Partially Disallowed are partially duplicative of the

Litigation Master Claims, the Debtor requests that the claims be partially disallowed to prevent

multiple recoveries. The holders of the Claims to Be Partially Disallowed will not be prejudiced

by the partial disallowance of their claims, because the liabilities associated with each of the

Claims to Be Partially Disallowed are subsumed within the liabilities asserted by the relevant

Litigation Master Claim(s), as set forth in Exhibit A hereto. In addition, the holders of the Claims

to Be Partially Disallowed will also not be prejudiced as to the remaining amounts allegedly owed

because they will each retain a Remaining Claim against the Debtors in respect of such amounts.




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        8.       Based on the foregoing, and to the best of my knowledge, information, and belief,

the information contained in the Three Hundred Fifty-First Omnibus Objection and exhibits

thereto is true and correct, and the relief requested therein is in the best interests of the Debtor and

its creditors.

        9.       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge and belief.

Dated: June 18, 2021
                                                       By:      /s/ Jay Herriman
                                                                Jay Herriman




                                                   5
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                                  ANEXO B

                          Declaración de Jay Herriman
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO

In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,                                                             La presente radicación guarda
                                                                 relación con el ELA, la ACT y el
                                    Deudores. 1                  SRE.


       DECLARACIÓN DE JAY HERRIMAN EN APOYO DE LA TRICENTÉSIMA
      QUINCUAGÉSIMA PRIMERA OBJECIÓN GLOBAL (NO SUSTANTIVA) DEL
        ESTADO LIBRE ASOCIADO DE PUERTO RICO, DE LA AUTORIDAD DE
     CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y DEL SISTEMA DE
    RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE ASOCIADO
     DE PUERTO RICO A RECLAMACIONES PARCIALMENTE DUPLICADAS POR
                                LITIGIOS




1
    Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
    informático)
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       Yo, Jay Herriman, de conformidad con el Título 28 U.S.C., § 1746, por medio de la

presente declaro, so pena de incurrir en falso testimonio, que lo que sigue es veraz y correcto a mi

fiel saber y entender:

       1.      Soy director general de Alvarez & Marsal North America, LLC ("A&M"). La Junta

de Supervisión y Administración Financiera (la "Junta de Supervisión") contrató a A&M para que

le ayudara, entre otras cosas, con el proceso de reconciliación de reclamaciones en relación con

los casos de los Deudores (según se define abajo) radicados conforme a la Ley para la Supervisión,

Administración y Estabilidad Económica de Puerto Rico ("PROMESA"). Salvo disposición en

contrario en la presente declaración, tengo conocimiento personal de los hechos aquí expuestos.

       2.      En mi capacidad de director general de A&M, soy una de las personas responsables

de supervisar el proceso de reconciliación y objeciones relativo a las reclamaciones en el marco

de los casos de los Deudores (según se define abajo) radicados conforme a PROMESA. El proceso

continuo de reconciliación de reclamaciones de los Deudores implica un esfuerzo colectivo de un

equipo de los empleados de A&M, así como de Proskauer Rose LLP y de O’Neill & Borges LLC,

abogados de la Junta de Supervisión, el representante legal del Estado Libre Asociado de Puerto

Rico (el "ELA"), de la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") y del

Sistema de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el

"SRE", y junto con el ELA y la ACT, los "Deudores").

       3.      Realizo esta declaración en apoyo de la Tricentésima quincuagésima primera

objeción global (no sustantiva) del Estado Libre Asociado de Puerto Rico, de la Autoridad de

Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de los Empleados del

Gobierno del Estado Libre Asociado de Puerto Rico a Reclamaciones Parcialmente Duplicadas




                                                 2
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por Litigios (la "Tricentésima quincuagésima primera objeción global"). 2 He revisado

personalmente la Tricentésima quincuagésima primera objeción global, y los anexos relativos a la

misma, por lo que estoy familiarizado con la información que contienen.

         4.     Durante el proceso de preparación para radicar la Tricentésima quincuagésima

primera objeción global, bajo mi dirección y/o supervisión, cada una de las reclamaciones

controvertidas en la Tricentésima quincuagésima primera objeción global fue examinada y

analizada cuidadosamente de buena fe aplicando la debida diligencia por parte del personal

pertinente. Dichos esfuerzos resultaron en la identificación de las reclamaciones que han de ser

rechazadas parcialmente, según se identifica en el Anexo A de la Tricentésima quincuagésima

primera objeción global.

         5.     A mi fiel saber y entender, las reclamaciones identificadas en el Anexo A de la

Tricentésima quincuagésima primera objeción global en la columna titulada "Reclamaciones que

han de ser rechazadas parcialmente" (cada una denominada una "Reclamación que ha de ser

rechazada parcialmente" y conjuntamente, las "Reclamaciones que han de ser rechazadas

parcialmente") alegan las mismas responsabilidades, en parte, que aquellas que se alegan en: 1)

las reclamaciones principales radicadas en nombre de todos los demandantes en el litigio con

epígrafe Jeannete Abrams Diaz et al. c. el Departamento de Transportación y Obras Públicas,

núm. KAC2005-5021 (las "Reclamaciones Principales Abrams Diaz"); 2) las reclamaciones

principales radicadas en nombre de todos los demandantes en el litigio con epígrafe Delfina López

Rosario et al. c. el Departamento de Policía de Puerto Rico, núm. T-01-10-372 (las

"Reclamaciones Principales López Rosario"); 3) la reclamación principal radicada en nombre de


2
    Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán
    el significado que les haya sido atribuido en la Tricentésima quincuagésima primera objeción
    global.


                                                3
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todos los demandantes en el litigio con epígrafe Acevedo Arocho et al. c. el Departamento de

Hacienda de Puerto Rico, núm. KAC2005-5022 (las "Reclamaciones Principales Acevedo

Arocho"); 4) la reclamación principal radicada en nombre de todos los demandantes en el litigio

con epígrafe Madeline Acevedo Camacho et al. c. el Departamento de la Familia de Puerto Rico,

núm. 2016-05-1340 (la "Reclamación Principal Acevedo Camacho"); 5) la reclamación principal

radicada en nombre de todos los demandantes en el litigio con epígrafe Francisco Beltrán Cintrón

et al. c. el Departamento de la Familia de Puerto Rico, núm. KAC2009-0809 (la "Reclamación

Principal Beltrán Cintrón"); 6) la reclamación principal radicada en nombre de todos los

demandantes en el litigio con epígrafe Abraham Giménez et al. c. el Departamento de

Transportación y Obras Públicas de Puerto Rico, núm. KAC2013-1019 (la "Reclamación

Principal Abraham Giménez"); 7) la reclamación principal radicada en nombre de todos los

demandantes en el litigio con epígrafe Juan Pérez Colón et al. c. el Departamento de

Transportación y Obras Públicas de Puerto Rico, núm. KAC1990-0487 (la "Reclamación

Principal Pérez Colón"); 8) la reclamación principal radicada en nombre de todos los demandantes

en el litigio con epígrafe Frente Unido de Policías Organizados et al. c. el Departamento de

Policía de Puerto Rico, núm. KAC2007-4170 (la "Reclamación Principal FUPO"); 9) la

reclamación principal radicada en nombre de todos los demandantes en el litigio con epígrafe

Alfredo Maldonado Colón et al. c. el Departamento de Corrección y Rehabilitación de Puerto

Rico, núm. KAC96-1381 (la "Reclamación Principal Maldonado Colón"); o 10) la reclamación

principal radicada en nombre de todos los demandantes en el litigio con epígrafe Rosa Lydia Velez

c. el Departamento de Educación de Puerto Rico, KPE1980-1738, quienes han aceptado ser

representados por José E. Torres Valentín ("Torres Valentín") de Torres Valentín Estudio Legal,




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LLC (la "Reclamación Principal Velez") (conjuntamente, las "Reclamaciones Principales de

Litigios").

        6.     Cada una de las Reclamaciones que han de ser rechazadas parcialmente fue

radicada por uno de los demandantes individuales en los litigios planteados por las Reclamaciones

Principales de Litigios, según se identifica en la documentación justificativa proporcionada con

las Reclamaciones Principales de Litigios. Cada una de las Reclamaciones que han de ser

rechazadas parcialmente también pretende alegar responsabilidades adicionales no asociadas con

las Reclamaciones Principales de Litigios, tales como bases adicionales para pagos de salarios

atrasados que no están incluidas en las Reclamaciones Principales de Litigios.

        7.     Dado que las Reclamaciones que han de ser rechazadas parcialmente están

duplicadas parcialmente con respecto a las Reclamaciones Principales de Litigios, los Deudores

solicitan que las reclamaciones sean rechazadas parcialmente para evitar recuperaciones múltiples.

Los titulares de las Reclamaciones que han de ser rechazadas parcialmente no se verán

perjudicados por el hecho de que se rechacen parcialmente sus reclamaciones, puesto que las

responsabilidades vinculadas con cada una de las Reclamaciones que han de ser rechazadas

parcialmente se incluyen en las responsabilidades alegadas en la(s) Reclamación(es) Principal(es)

de Litigios pertinente(s), según se establece en el Anexo A del presente documento. Además, los

titulares de las Reclamaciones que han de ser rechazadas parcialmente tampoco se verán

perjudicados en cuanto a los montos restantes supuestamente adeudados, ya que cada uno de ellos

conservará una Reclamación Restante contra los Deudores en relación con tales montos.

        8.     Sobre la base de lo que antecede, y a mi fiel saber y entender, la información

contenida en la Tricentésima quincuagésima primera objeción global y en sus anexos es veraz y

correcta, y el remedio allí solicitado redunda en el mejor interés de los Deudores y sus acreedores.




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       9.     Declaro, so pena de incurrir en falso testimonio conforme a las leyes de los Estados

Unidos de América, que lo que antecede es veraz y correcto a mi fiel saber y entender.

Fecha: 18 de junio de 2021
                                                    Por:   [Firma en la versión en inglés]
                                                           Jay Herriman




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